              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:17-cv-00127-MR
             [Criminal Case No. 1:16-cr-00051-MR-DLH-2]


SAMUEL ZUNIGA MEDINA,            )
                                 )
                   Petitioner,   )
                                 )
         vs.                     )                ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
                   Respondent.   )
________________________________ )

      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1], which the Court received on May 15, 2017.

       The Court entered a Judgment against the Petitioner in his underlying

criminal action on May 4, 2017. [Criminal Case No. 1:16-cr-00051-MR-DLH-

2 (“CR”), Doc. 125]. The Petitioner filed a Notice of Appeal to the Fourth

Circuit of Appeals immediately after his sentencing. [CR Doc. 123]. Because

the Petitioner’s direct appeal is currently pending in the Fourth Circuit, his

motion to vacate is premature. The Court, therefore, will dismiss the motion

to vacate without prejudice to the Petitioner refiling the motion after resolution

of his direct appeal.



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     IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is DISMISSED WITHOUT PREJUDICE as

premature.

     IT IS SO ORDERED.
                               Signed: May 29, 2017




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